Case 9:10-cv-80737-DTKH Document 183-1 Entered on FLSD Docket 10/12/2012 Page 1 of 1




                                               MARCUM
                                               ACCOUNiAN.S "" AOVISORS



                                                                       Invoice Date: 8/27/2012                   Invoice # 20120820
                                                                    Payment Terms: Due Upon Receipt          Engagement # 1008089
                                                                   Send Payment To: Marcum LLP
  JEFFREY C. SCHNEIDER, RECEIVER                                                     One SE Third Ave., 10th Floor
                                                                                     Miami, FL 33131
   201 SOUTH BISCAYNE BLVD., 34TH FLOOR                                 Wiring Info: TD Bank
   MIAMI, FL 33131                                                                   855 Franklin Ave.
                                                                                     Garden City, NY 11530
                                                                                     ABA #026013673 Account #7915750397
                                                                                     Please reference invoice number

  Please return top portion with remittance.                         Amount Enclosed $ _ _ _ _ __




   Proposed Fourth and Final Fee Application for allowance of compensation and reimbursement of
   expenses to Marcum, Receiver's Forensic Accountants. Period of March 1,2012 through the end of the
   receivership - Case No. 10-CV-80737-Hurley/Hopkins. Consolidated with Case No. 1O-CV-80738-
   Hurley/Hopkins for the Receivership. Total Fee Application:                                                    $25,000




                                                                                         New Charges     $      25,000.00




                                                                 EXHIBIT

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